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WK:DIB

UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK

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UNITED STATES OF AMERICA
24 MJ 275
- against -
COMPLAINT
ALEC BENJAMIN-LEE WEBB,
(18 U.S.C, § 2252(a)(4)(B))
Defendant.
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EASTERN DISTRICT OF NEW YORK, SS:

RACHEL MARIE KIDD, being duly sworn, deposes and states that she is a
Special Agent with the United States Department of Homeland Security, Homeland Security
Investigations (“HSI”), duly appointed according to law and acting as such.

On or about April 2, 2024, within the Eastern District of New York and
elsewhere, the defendant ALEC BENJAMIN-LEE WEBB did knowingly and intentionally
possess with intent to view matter containing one or more visual depictions, to wit: images in
digital files contained within electronic devices provided to United States Customs and Border
Protection pursuant to a border search by the defendant at John F. Kennedy International Airport,
and which visual depictions had been mailed, and shipped and transported in, and using a means
and facility of, interstate and foreign commerce, and which were produced using materials which
had been mailed, and so shipped and transported, by any means, including by computer, the
production of such visual depictions having involved the use of one or more minors engaging in
sexually explicit conduct, and such visual depictions were of such conduct.

(Title 18, United States Code, Section 2252(a)(4)(B)).
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The source of your deponent’s information and the grounds for his belief are as
follows:'

1, I am a Special Agent with HSI and have been since 2023. I am currently
assigned to the Child Exploitation Investigations Unit. During my tenure with HSI, I have
participated in the investigation of cases involving crimes against children. Specifically, I have
experience investigating cases involving production, receipt, distribution and possession of child
pornography and have conducted physical and electronic surveillance, executed search warrants,
reviewed and analyzed electronic devices and interviewed witnesses. As part of my
employment with HSI, I successfully completed the Federal Law Enforcement Training Center’s
Criminal Investigator Training Program and Homeland Security Investigations Special Agent
Training, both of which included instruction with respect to the application for, and execution of,
search and arrest warrants, as well as the application for criminal complaints and other legal
processes. Asa result of my training and experience, I am familiar with the techniques and
methods of operation used by individuals involved in criminal activity to conceal their actions
from detection by law enforcement.

2. lam familiar with the facts and circumstances set forth below from,
among other things, my participation in the investigation and from information provided by other
law enforcement officers involved in the investigation.

3. On or about April 2, 2024, WEBB, a 25-year-old male and United States
Citizen, landed at John F. Kennedy International Airport, which is within the Eastern District of

New York, traveling from the Netherlands. A border search was conducted of WEBB’s

! Because the purpose of this Complaint is to set forth only those facts necessary to

establish probable cause to arrest, I have not described all the relevant facts and circumstances of
which I am aware.
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electronic devices, specifically an iPad (the “iPad”) and two cellular phones (the “Cell Phones,”
together with the iPad, the “Electronic Devices”).

4. During the search, WEBB voluntarily gave CBP officers the passwords to
the Electronic Devices. Upon manually reviewing the Cell Phones, CBP officers identified,
among other things, nude images of what appeared to be girls under the age of 18.

5. I subsequently arrived on the scene. After I gave the defendant Miranda

warnings, he agreed to waive his Miranda rights. The defendant then provided a voluntary

confession to law enforcement officers, including myself, during which he stated, in substance
and in part, that he possessed nude images of girls, including a girl who WEBB identified as 16
years old, on the Electronic Devices, including the Cell Phones.

6. On the Cell Phones, I also observed child sex abuse material, including —
nude images of what appeared to be girls under the age of 18 and videos of what appeared to be
girls under the age of 18 exposing their genitals and breasts.

WHEREFORE, your deponent respectfully requests that the defendant ALEC
BENJAMIN-LEE WEBB, be dealt with according to law.

Zoek

/s/ Rachel Marie Kidd

RACHEL MARIE KIDD

Special Agent, United States Department of
Homeland Security, Homeland Security
Investigations

Sworn to before me this
3rd day of April, 2024

OM
UNITED STATES MAGISTRATE JUDGE
EASTERN DISTRICT OF NEW YORK
